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        United States Court of Appeals
             for the Fifth Circuit
                                                               United States Court of Appeals
                                                                        Fifth Circuit

                                      FILED
                             _____________
                                                                   July 8, 2025
                               No. 25-10534                      Lyle W. Cayce
                             _____________                            Clerk

W.M.M., on their own behalf and on behalf of others similarly situated;
F.G.M., on their own behalf and on behalf of others similarly situated;
A.R.P., on their own behalf and on behalf of others similarly situated,

                                                       Petitioners—Appellants,

                                    versus

Donald J. Trump, in his official capacity as President of the United States;
Pamela Bondi, Attorney General of the United States, in her official
capacity; Kristi Noem, Secretary of the United States Department of
Homeland Security, in her official capacity; United States
Department of Homeland Security; Todd Lyons, Acting
Director of the Director of United States Immigration and Customs Enforcement,
in his official capacity; United States Immigration and
Customs Enforcement; Marco Rubio, Secretary of State, in his
official capacity; United States State Department; Josh
Johnson, in his official capacity as acting Dallas Field Office Director for
United States Immigration and Customs Enforcement; Marcello
Villegas, in his official capacity as the Facility Administrator of the
Bluebonnet Detention Center; Phillip Valdez, in his official
capacity as Facility Administrator of the Eden Detention Center;
Jimmy Johnson, in his/her official capacity as Facility Administrator of
the Prairieland Detention Center; Judith Bennett, in her
official capacity as Warden of the Rolling Plains Detention Center,

                                                       Respondents—Appellees.
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                            No. 25-10534




           ________________________________

            Appeal from the United States District Court
                for the Northern District of Texas
                      USDC No. 1:25-CV-59
           ________________________________

ORDER:
     IT IS ORDERED that Appellants’ unopposed motion to unseal the
case is GRANTED.


                         LYLE W. CAYCE, CLERK
                         United States Court of Appeals
                              for the Fifth Circuit
                              /s/ Lyle W. Cayce

           ENTERED AT THE DIRECTION OF THE COURT




                                 2
